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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS
________________________________________________
COMMERCE INSURANCE COMPANY, as subrogee of :
Robert T. Szacik                                 :
211 Main Street                                  :
Webster, MA 01570,                               :
                                                 :
                                Plaintiff,       :    Case No.:
                                                 :
v.                                               :
                                                 : JURY TRIAL DEMANDED
ELECTROLUX NORTH AMERICA, INC.                   :
10200 David Taylor Drive                         :
Charlotte, NC 28262                              :
                                                 :
                                Defendant.       :
________________________________________________:



                                          COMPLAINT
       Plaintiff, Commerce Insurance Company, by and through its counsel, Patrick J. Loftus,

III, upon information and belief, hereby asserts, as follows:

                                         THE PARTIES

       1.      Plaintiff, Commerce Insurance Company (“Commerce”), is a corporation

organized and existing under the laws of the Commonwealth of Massachusetts with its principal

place of business located in Webster, Massachusetts. At all relevant times, Commerce was duly

authorized to issue policies of insurance and conduct business within the Commonwealth.

       2.      Defendant, Electrolux North America, Inc. (hereinafter “Electrolux”), is

corporation duly organized and existing under the laws of the State of Ohio, with its principal place

of business located at 10200 David Taylor Drive, Charlotte, North Carolina, and all times material

hereto has engaged in the business of designing, manufacturing, selling and distributing home

appliances, including but not limited to, Frigidaire dishwashers for residential use.
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                                   JURISDICTION AND VENUE


        3.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1332(a), as the

matter in controversy, exclusive of interest and costs, exceeds Seventy-Five Thousand Dollars

($75,000.00), and there is diversity of citizenship between Plaintiff and Defendant.

        4.      Venue in this action is proper in this District Court pursuant to 28 U.S.C. §1391, as

the claims at issue arose in this district.


                                    FACTUAL BACKGROUND

        5.      At all times material hereto, Robert T. Szacik owned the home located at 24 Poland

Street, Webster, Massachusetts (the “Subject Premises”).

        6.      At all times material hereto, plaintiff, Commerce Insurance Company insured the

Subject Premises and Mr. Szacik’s personal property located therein.

        7.      On or about October 17, 2018, a fire occurred in the home, resulting in substantial

damage.

        8.      The fire originated in the interior basin of an Electrolux dishwasher that was

manufactured, branded, distributed and/or sold by defendant, Electrolux under the brand name

Frigidaire.

        9.      The internal heating coil used to dry dishes, located in the interior basin of the

appliance, experienced a catastrophic failure, resulting in the ignition of combustible materials

within the basin.

        10.     The fire caused severe and extensive destruction to the Subject Premises and Mr.

Szacik’s personal property located therein, as well as extra expenses.




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       11.     As a result of the fire, Mr. Szacik made a claim to Commerce and, pursuant to the

terms and conditions of its policy of insurance, plaintiff Commerce has paid the fair and reasonable

value and costs of the resulting damages as covered under the applicable policy in an amount in

excess of $440,596.12.

       12.     To the extent of its payments, Commerce is subrogated to the rights of Mr. Szacik

to the full extent of its payments.

                                      COUNT I – NEGLIGENCE

       13.     Plaintiff incorporates by reference the preceding allegations as though the same

were set forth at length herein.

       14.     The fire and resulting damages sustained by Mr. Szacik were directly and

proximately caused by the negligence, carelessness, negligent omissions and/or gross negligence

of defendant Electolux, acting by and through its employees, agents and servants, acting within

the course and scope of their employment as follows:


               a.      failing to properly and safely design and/or manufacturer its dishwasher
                       products;

               b.      failing to design a heating coil that would fail in a safe manner, not resulting
                       in catastrophic failure in the immediate presence of combustibles;

               c.      manufacturing the dishwasher with combustible materials that were subject
                       to ignition when coming in close proximity or contact with the internal
                       heating coil;

               d.      failing to provide adequate warnings and instructions for its dishwasher
                       products;

               e.      failing to take the proper and necessary precautions to prevent a fire from
                       originating in its dishwasher products;

               f.      failing to provide a safe product;

               g.      failing to recall the product when it became aware of the defect;

               h.      failing to properly test and/or inspect its products; and/or


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               i.      otherwise causing or allowing the fire to occur.
       WHEREFORE, Plaintiff, Commerce demands judgment against the defendant Electrolux

in an amount in excess of $440,596.12, together with interests, the cost of this action and such

other and further relief as this Court deems just and proper under the circumstances.

              COUNT II – BREACH OF IMPLIED WARRANTY – IN TORT


       15.     Plaintiff incorporates by reference the preceding paragraphs as though the same

were set forth at length herein.

       16.     Defendant, Electrolux, failed to provide a product which was fit and adequate for

its foreseeable and intended use and free from defects in its design, manufacture, distribution,

warranties and/or instructions, thereby rendering defendant, Electrolux, liable in tort.

       17.     By reason of the aforesaid breaches of warranty, Mr. Szacik sustained severe and

extensive damages.


       WHEREFORE, Plaintiff, Commerce demands judgment against the defendant Electrolux

in an amount in excess of $440,596.12, together with interests, the cost of this action and such

other and further relief as this Court deems just and proper under the circumstances.


                                                     Plaintiff Commerce Insurance Company,
                                                     as subrogee of Richard T. Szacik
                                                     BY ITS ATTORNEYS

                                                     ___/s/ Patrick J. Loftus III_________
 Of Counsel:
                                                     PATRICK J. LOFTUS, III (BBO # 303310)
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